      Case 2:22-cv-00683-MTL Document 20 Filed 07/12/22 Page 1 of 4



 1   BRIAN M. BOYNTON
 2   Principal Deputy Assistant Attorney General
     JAMES G. TOUHEY, JR.
 3   Director, Torts Branch
 4   PHILIP D. MACWILLIAMS
     Trial Attorney
 5   D.C. Bar No. 482883
     IRINA M. MAJUMDAR
 6
     Trial Attorney
 7   D.C. Bar No. 252757
     E-mail: phil.macwilliams@usdoj.gov
 8   U.S. Department of Justice
 9   Civil Division, Torts Branch
     Benjamin Franklin Station, P.O. Box 888
10   Washington, DC 20044
11   Telephone: (202) 616-4285
     Attorneys for the United States of America
12
13
                          IN THE UNITED STATES DISTRICT COURT
14
                                FOR THE DISTRICT OF ARIZONA
15   A.I.I.L., on behalf of herself and her              Case No. 4:19-cv-00481-JCH
16   minor children, J.A.H.I. and M.E.H.I.;
     L.L.H.O., on behalf of herself and her          REPLY IN SUPPORT OF MOTION TO
17   minor child, K.E.O.H.; J.L.V.A., on behalf of
     himself and his minor child, D.S.V.H.;             CONSOLIDATE CASES FOR
18   J.I.S., on behalf of himself and his minor          COMMON POLICY-BASED
     child, B.L.S.P.; and J.J.P.B., on behalf of            DISCOVERY ONLY
19   himself and his minor child, A.E.P.F
20                      Plaintiffs,
21   v.
22   Jefferson Beauregard Sessions III, et al.,
23
                        Defendant.
24
25         Defendant, the United States of America, replies in support of its Motion to

26   Consolidate Cases for Common Policy-Based Discovery Only (Doc. 92), in which it seeks

27   to consolidate this action with C.M., et al. v. United States, No. 2:19-cv-05217-PHX-SRB,

28   and A.P.F., et al. v. United States, No. 2:20-cv-00065-PHX-SRB before a single judicial
         Case 2:22-cv-00683-MTL Document 20 Filed 07/12/22 Page 2 of 4



 1   officer for the limited purpose of coordinating policy-based discovery common to each case,
 2   to include the national-level policy-related discovery directed at high level government
 3   officials, as well as the implementation of such policies by officials and employees of Border
 4   Patrol Sectors, Immigration and Customs Enforcement (ICE) Field Offices, and U.S.
 5   Attorney’s Offices.
 6           Consolidating discovery in this manner will not delay the proceedings in C.M. and
 7   A.P.F. Indeed, the Government is not seeking to extend the discovery deadlines in those
 8   actions as a result of this motion. Rather, the Government believes that consolidating the
 9   policy-based discovery common to all Family Separation Cases will streamline discovery
10   proceedings in A.I.I.L. and in the other Family Separation Cases currently pending in this
11   District. Consolidation will streamline discovery in the other cases by allowing the parties
12   to take advantage of the robust ESI protocols developed, litigated, and used in the C.M. and
13   A.P.F. cases, and the resulting document productions. 1 Consolidation could also streamline
14   discovery in the pending and impending cases by avoiding duplication in depositions.
15   However, the most expeditious way to determine how best to utilize the existing policy-
16   based discovery in subsequent Family Separation Cases, and the mechanisms by which
17   future plaintiffs might seek additional such discovery, is to consolidate the common, policy-
18   based discovery before a single judicial officer.
19           Consolidation of the common, policy-based discovery will also help avoid
20   inconsistent discovery rulings. For example, in the C.M. and A.P.F. matters, the Government
21   asserted deliberative process, executive privilege, work product, and attorney-client
22   privilege over certain documents or portions of policy-level documents that are common to
23   all current and future plaintiffs in the Family Separation Cases. The C.M. and A.P.F.
24   plaintiffs challenged the Government’s privilege assertions. See, e.g., Doc. 120 in No. 2:19-
25   cv-05217. Judge Bolton ordered the Government to produce unredacted versions of the
26
     1
       Those cases were subject to the Mandatory Initial Discovery Pilot Project (“MIDP”)
27
     initiated in this District on May 1, 2017 by General Order 17-08. The MIDP terminated on
28   May 1, 2020. Voluminous discovery was produced in those cases, both as a result of the
     MIDP and through the discovery process.
                                                  -2-
         Case 2:22-cv-00683-MTL Document 20 Filed 07/12/22 Page 3 of 4



 1   documents over which the Government asserted attorney-client or work product privilege
 2   for in camera review. Doc. 130 in No. 2:19-cv-05217. Upon review of the 143 documents
 3   submitted by the Government, the Court found that “for the most part,” the redactions were
 4   “carefully and correctly done.” Doc. 137 at 6 in No. 2:19-cv-05217. The Court determined
 5   that a few of the redacted documents were not privileged and ordered them to be produced
 6   without redactions. Id. Subsequently, Judge Bolton reviewed in camera 35 documents
 7   redacted by the Government due to claims of Presidential Communications Privilege 2 or the
 8   Deliberative Process Privilege, thoroughly analyzed the various privileges asserted, and
 9   ordered either that the document be produced without the redaction or sustained the privilege
10   claim. Doc. 142 in 2:19-cv-05217. Judge Bolton has also ruled on additional challenges to
11   privilege assertions made over documents and deposition testimony. See, e.g., Docs. 146,
12   173, 204 in No. 2:19-cv-05217. Judicial economy is best served by relying on Judge
13   Bolton’s findings on these issues rather than having another judge duplicate her efforts and
14   risk inconsistent privilege decisions in the event plaintiffs’ counsel in other Family
15   Separation Cases challenge the Government’s privilege claims.
16           Additionally, the common, policy-level discovery in the Family Separation Cases will
17   likely involve disclosing the same documents, efforts to depose the same or similar
18   witnesses, and exploring the same defenses. Requiring different judges in each case to be
19   familiar with this body of discovery, and to be able to make determinations as to the most
20   fair and efficient use of this discovery, would be unnecessarily burdensome and inefficient.
21   Consolidating the common, policy-level discovery will conserve judicial resources, lessen
22   the burden on the parties and witnesses, and will help eliminate unnecessary repetition.
23           To be clear, the Government is only seeking to consolidate the policy-level discovery
24   that is common to all the Family Separation Cases. Discovery specific to the plaintiffs in
25   any given case would remain with the judge assigned to that case. However common, policy-
26   based discovery should be consolidated before a single judicial officer who can determine,
27
28   2
       Plaintiffs in C.M. and A.P.F. subsequently withdrew their challenge to the Government’s
     invocation of the Presidential Communications Privilege.
                                                 -3-
       Case 2:22-cv-00683-MTL Document 20 Filed 07/12/22 Page 4 of 4



 1   with input from the parties, how best (and on what timetable) to utilize the existing discovery
 2   to limit duplicative discovery efforts and discovery disputes.
 3
 4          RESPECTFULLY SUBMITTED this 12th day of July, 2022.
 5                                              BRIAN M. BOYNTON
 6                                              Principal Deputy Assistant Attorney General
 7                                              JAMES G. TOUHEY, JR.
 8                                              Director, Torts Branch

 9                                              s/Phil MacWilliams
10                                              PHILIP D. MACWILLIAMS
                                                Trial Attorney
11                                              D.C. Bar No. 482883
12                                              E-mail: phil.macwilliams@usdoj.gov
                                                U.S. Department of Justice
13                                              Civil Division, Torts Branch
14                                              Benjamin Franklin Station, P.O. Box 888
                                                Washington, DC 20044
15                                              Telephone: (202) 616-4285
16
                                                Attorneys for United States of America
17
18                                 CERTIFICATE OF SERVICE
19          I hereby certify that on July 12,2022, I electronically transmitted the attached
20   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
21   Notice of Electronic Filing to all CM/ECF registrants.
22
     s/ Phil MacWilliams
23
     PHILIP D. MACWILLIAMS
24
     Attorney for United States of America
25
26
27
28

                                                  -4-
